                                                              JS-6



                 UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA


HILTON MINCY,                            CASE NO. 2:21-cv-1032-AB (SK)
                  Petitioner,
                                         JUDGMENT
            v.
STATE OF CALIFORNIA et al.,
                  Respondent.



     Pursuant to the Order Dismissing Petition for Lack of Jurisdiction, IT
IS ADJUDGED that the petition for writ of habeas corpus is dismissed
without leave to amend and that this action is dismissed with prejudice.



DATED: April 28, 2021
                                         ANDRE BIROTTE, JR.
                                         U.S. DISTRICT JUDGE
